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LAW OFFICE OF
JOHN F. CARMAN
666 OLD COUNTRY ROAD TELEPHONE (516) 683-3600
SUITE 501 FACSIMILE (516) 683-8410
GARDEN CITY, NEW YORK 11530 JOHN@JOHNCARMANLAW.COM

 

July 19, 2016

VIA ECF

Magistrate Judge Anne Y. Shields
United States District Court
Eastern District Of New York

100 Federal Plaza

Central Islip, New York 11722

Re: Town of Islip v. Thomas Datre, Jr. et. al.
Case No. 16-Cv-2156 (JF B) (AYS)
Dear Judge Shields:

am the attorney for Ronald Cianciulli and Atlas Home Improvement
Corporation of Long Island in the above referenced matter.

I am respectfully requesting an extension of time for Ronald Cianciulli and Atlas
Home Improvement Corporation of Long Island to answer or otherwise respond to the
Complaint until July 22, 2016. Guy William Germano, Esq., counsel for plaintiff and he
has consented to such an extension. My clients have previously waived any defects with
regard to service of process.

Thank you for your consideration.
Very truly yours,
/s/ John F. Carman
JOHN F. CARMAN
JFC/ams

cc: All Parties (Via ECF)
